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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Case No. -CR-
UNITED STATES OF AMERICA 19-CR-125 (ABU)

v. FILED

GREGORY B. CRAIG SEP - 4 2019
Clerk, U.S. District & Bankruptcy
DEFENDANT Courts for the District of Columbia

COUNSEL’S ACKNOWLEDGMENTS CONCERNING TRIAL EXHIBITS

Counsel acknowledges that they have jointly reviewed the exhibits that were admitted
into evidence with the Courtroom Deputy and have agreed on what exhibits wil] be submitted to

the jury during deliberations.

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